                IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                    Plaintiff,
v.                                                 No. 2 4 - m j - 4 1 9

JAREMY SMITH,

                    Defendant.

                  ORDER APPOINTING LEARNED COUNSEL

      THIS MATTER is before the Court having been informed that this case

implicates the death penalty, and having consulted with Margaret A. Katze, the

Federal Public Defender for the District of New Mexico, as to attorneys who are

so qualified.

      IT IS HEREBY ORDERED that pursuant to 18 U.S.C. § 3005, Attorney

Theresa Duncan is appointed as learned counsel for Defendant Jaremy Smith.

      IT IS FURTHER ORDERED that Attorney Duncan is permitted to bill for

this case pursuant to the Criminal Justice Act.




                                 _________________________________
                                 WILLIAM P. JOHNSON
                                 CHIEF UNITED STATES DISTRICT JUDGE
